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 8                                   UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         No. 2:12-cr-00375-TLN
12
                        Plaintiff,                     ORDER
13
            v.
14

15   KENNETH KIM PARKS, SR.,
16
                        Defendant.
17

18          On July 27, 2015, Defendant Kenneth Parks (“Defendant”) filed a motion with this Court
19   seeking to recall an outstanding warrant for violation of supervised release from a 1989 federal
20   conviction. (ECF No. 172.) Defendant maintains that the failure to recall this warrant has
21   negatively impacted his ability to take advantage of certain Bureau of Prisons programs. (ECF
22   No. 172 at 1.) In support of his motion, Defendant attached a portion of the transcript from his
23   August 7, 2014, sentencing. (ECF No. 172 at 2.)
24          In reviewing this case, the Court determined that the record did not reflect the correct
25   criminal history category applied to the Defendant at the time of sentencing. As the submitted
26   portion of the transcript reflects, the Court ordered that Defendant’s criminal history category
27   would be reduced to III from the Presentence Investigation Report’s proposed category VI.
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 1   (Reporters Transcript, Judgment and Sentencing of K. Parks, August 7, 2014, ECF No. 121 at
 2   12–15.) The decision to assign Defendant a criminal history category of III was based in part on
 3   the fact that an “an outstanding warrant from a 1990 robbery conviction … never got purged out
 4   of the system.” (ECF No. 121 at 15.) The United States Probation Office has since corrected the
 5   record by filing an updated Presentence Investigation Report. (ECF No. 174.)
 6          However, the Court’s review of the transcript of Defendant’s sentencing, as well as the
 7   underlying facts of this case, indicate that this Court may not order a recall of the outstanding
 8   warrant against Defendant. The Presentence Investigation Report indicates that the warrant at
 9   issue in this motion was issued by the United States District Court, Central District of California,
10   Los Angeles. (ECF No. 174 at 11.) Therefore, Defendant must petition the court that issued the
11   warrant for recall.
12          The updated Presentence Investigation Report (ECF No. 174) ensures that Defendant’s
13   criminal history category of III is reflected in the record in the event that Defendant felt this
14   misclassification affected his ability to take advantage of any Bureau of Prison programs.
15   However, this Court is unable to recall the warrant issued by the Central District Court and must
16   deny Defendant’s motion for recall. For the reasons set forth above, Defendant’s motion to
17   correct or reduce his sentence is hereby DENIED.
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19   Dated: August 11, 2015
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22                                                                   Troy L. Nunley
                                                                     United States District Judge
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